The plaintiff Ole B. Stray brought this proceeding to compel by mandamus the allowance and payment of his salary as Commissioner of University and School Lands for the month of July, 1938, payment of which was refused on the ground that plaintiff's appointment to the office of commissioner had been avoided by the adoption on June 28, 1938, of a constitutional amendment prohibiting the appointment of a member of the legislative assembly to civil office or other employment during the term for which he was elected. The district court ordered judgment in favor of the plaintiff and the defendants perfected the instant appeal.
The material facts are those considered and held determinative in the case of State ex rel. Strutz v. Stray, just decided. The holding in that case is decisive of the issues in ante, 498,281 N.W. 83, the instant case and no opinion will be written herein.
The judgment of the District Court must be and it is affirmed.
CHRISTIANSON, Ch. J., and NUESSLE, BURR, MORRIS and SATHRE, JJ., concur.